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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT



                   STANDING ORDER RELATING TO DISCOVERY

       Any discovery dispute must first be the subject of a one (1) page letter, briefly

identifying the dispute. If the dispute involves written discovery requests, a copy of only

the requests and response in dispute must be attached to the letter.

       If the court fails within seven (7) days of receipt of the letter in Chambers to

docket a calendar scheduling a conference on the dispute, the party sending the letter

should file a Motion to Compel. The time period in Local Rule 7 does not apply to such

a Motion. The party(ies) opposing such a Motion to Compel must file any opposition

within fourteen (14) days of the filing of the Motion to Compel. There will be no reply.

SO ORDERED.

       Dated at New Haven, Connecticut, this 10th day of July, 2015.



                                                   /s/ Janet C. Hall
                                                  Janet C. Hall, Chief Judge
                                                  United States District Court
